

ORDER

PER CURIAM:
AND NOW, this 21st day of April, 1999, Christopher Lee Pearson having been suspended from the practice of law in the State of California by Order of the Supreme Court of the State of California filed on July 1, 1998; the said Christopher Lee Pearson having been directed on February 11, 1999, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Christopher Lee Pearson is suspended from the practice of law in this Commonwealth consistent with the Order of the Supreme Court of the State of California filed on July 1, 1998, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
